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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
JIMMY TOBIAS,                          )
                                       )
      Plaintiff,                       )
                                       )
      v.                               ) Civil Action No. 19-2023 (RCL)
                                       )
UNITED STATES DEPARMENT OF             )
INTERIOR, OFFICE OF THE SECRETARY, )
                                       )
      Defendant.                       )
______________________________________ )

        CONSENT MOTION TO VACATE DISPOSITIVE MOTION DEADLINE

       Defendant United States Department of Interior (“DOI”), Office of the Secretary, by and

through undersigned counsel, respectfully submits this consent motion to vacate the deadline

requiring Defendant to file a Vaughn index and a dispositive motion, as ordered by the Court on

August 22, 2019. ECF No. 7. Plaintiff, Jimmy Tobias, consents to the relief requested herein.

In support of its motion, Defendant states as follows:

       1.       This case concerns eleven Freedom of Information Act requests submitted by

Plaintiff to the DOI between November 2017 and October 2018. Generally speaking, the

requests seek certain agency records concerning correspondence and communications involving

specified DOI officials that either, (1) involve other specified individuals or organizations, or (2)

pertain to certain identified topics. ECF No. 1.

       2.       DOI has issued final responses to two of the eleven requests and is in the process

of conducting searches for the remaining requests. In processing the remaining requests, DOI

anticipates processing approximately 500 pages per month, with the first release to Plaintiff to be

scheduled for November 15, 2019.
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       3.       Because DOI is in the process of responding to Plaintiff’s requests, it would be

premature to begin briefing on dispositive motions. Accordingly, Defendant respectfully

requests that the Court vacate the deadline to file a Vaughn index and a dispositive motion and

order the parties to file a joint status report once every 60 days until such time as DOI’s

production is complete.

       4.       Pursuant to Local Civil Rule 7(m), undersigned counsel conferred with counsel

for Plaintiff, who consents to the relief requested.

       5.       Accordingly, the Defendant respectfully request that the Court enter the attached

proposed Order vacating the deadline to submit dispositive motions and requiring the filing of

Joint Status Reports every 60 days until DOI’s production is complete.

Dated: September 23, 2019                        Respectfully submitted,

                                                 JESSIE K. LIU, D.C. Bar. No. 472845
                                                 United States Attorney

                                                 DANIEL F. VAN HORN, D.C. Bar No. 924092
                                                 Chief, Civil Division

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